 

Case: 1:10-cv-06114 Document #: 86-9 Filed: 04/23/12 Page 1 of 15 PagelD #:447

 

 

IN THE UNITED STATES DISTRICT COURT 4 INDEX
EASTERN DIVISION manos 2 WITNESS EXAMINATION
EA
MICHAEL RENO,
Pant) 3 DARWIN BUTLER
City of Chicago Police Officer ) 4 BY MR. FOX 5
KEITH HARRIS, Star #19542; City ) 5
of Chicago Police Officer JEROME )
HOFFMAN, Star #19110; City of } No. 10 CV 06114 6
Chicago Police Officer SCHAAR)
KW, Star #9039; City of Chicago ) t EXHIBITS
i NELSO
Stari7236 and the CIV OF) 8 NUMBER MARKED FOR ID
ee etendants, 9 Butler Exhibit
The deposition of OARWIN BUTLER, called 10 Exhibit No. 1 37
for examination pursuant to notice and the Rules 11
of Civil Procedure for the United States District
Courts pertaining to the taking of depositions, 12
taken before Martha C. Newton, a notary public
within and for the County of Kane and State of 13
Illinois, at 300 West Adams Street, Suite 330, 44
Chicago, Illinois, on the 17th day of November
2011, at the hour of 3:01 p.m. 15
16
Reported By: Martha C. Newton, CSR, RPR, RMR
License No. 084-003632 17
18
19
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3
1 APPEARANCES: 4 (Witness sworn.)
2 EDWARD FOX & ASSOCIATES, by 2 MR. FOX: Could you state your name and spell
3 MR. EDWARD FOX 3 your name.
4 300 West Adams Street, Suite 330 4 THE WITNESS: Darwin. Spell my last name?
5 Chicago, Illinois GO606 5 First Darwin Butler, B-u-t-l-e-r.
6 {312} 345-8877 6 MR. FOX: Have you had your deposition taken
7 Representing the Plaintiff; 7 before?
8 8 THE WITNESS: No. | have not.
9 CUISINIER, FARAHVAR & BENSON, LTD., by 9 MR. FOX: I'm going to ask you a series of
10 MS. VICTORIA R. BENSON 10 questions.
14 vbenson@cfblaw.net 11 THE WITNESS: Yes, sir.
12 200 West Adams Street, Suite 430 12 MR. FOX: Answer them out loud like you've
13 Chicago, Illinois 60606 13 just done.
14 (312) 634-0412 14 THE WITNESS: Yes, sir.
15 Representing the Defendants. 15 MR. FOX: Because nods of the head don't work
i6 16 well. And then try and wait for me to be done
17 17 — with your question -- with my question before you
18 18 answer. Likewise I'll try and wait for you to be
19 19 done with your answer so we don't talk over each
20 20 ~~ other.
21 21 THE WITNESS: Yes, sir.
22 22 MR. FOX: And then if you need a break for
23 23 ~~ anything let me know.
24 24 THE WITNESS: Okay.

 

 

 

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DEFENDANT'S
EXHIBIT

 
 

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4 MR, FOX: Also if you don't understand any of 1 remember who the guys are -- were on your team?
2 ~~ my questions for any reason, just let me know and 2 A. | don't recall everybody, no.
3 ‘I'll repeat or rephrase it. 3 Q. On this particular day, were the -- you
4 THE WITNESS: Yes, sir. 4 using guys from different teams on your
5 DARWIN BUTLER, 5 assignment?
6 called as a witness herein, having been first duly 6 A. We had two separate teams working in
7 sworn, was examined and testified as follows: 7 ~~ conjunction with one another.
8 EXAMINATION 8 Q. What was the other team you had?
9 BYMR. FOX: 9 A. | don't remember. | don't recall that
10 Q. Allright. You're with the Chicago 1G. number but it was under Calvin, Sergeant Calvin,
11. Police Department? 11. plain supervision.
12 A. Yes, lam, 12 Q. Allright. And then it was a surgicat
13 Q. And what's your current assignment? 13 strike mission that you folks were doing?
14 A. Seventh District. 14 A. Yes, sir.
15 Q. And what's your rank? 15 Q. And what was your assignment for that
16 A. Sergeant. 16 day?
17 Q. How long have you been in the 7th 17 A. Narcotics and gang suppression and in the
18 District’? 18 area of 79th, Jeffrey, Yates, points east.
19 A. Six months. 19 @. Now, the name Michael Reno, did you know
20 Q. How long have you been a sergeant? 20 ~=— that name from anywhere before March 28 of '097
21 A. Five years. 21 A. No, I did not.
22 Q. Are you a patrol sergeant or..... 22 @. And as I understand it, you folks would
23 A. Patrol sergeant now, yes, sir. 23 go out and -— and try and do buy bust, make buy
24 Q. What about back in March 28 of '09? 24 bust arrests; is that correct?
7
1 A. Yeah, | was working narcotics as a 1 A. Yes, that's what we did. Yes.
2 sergeant. 2 Q. And this was to be done with 1505 funds?
3 Q. And did you supervisor a particular team? 3 A. Yes, sir.
4 A. Yes, I did. 4 Q. Which these are funds with prerecorded
5 Q. What team did you supervise? 5 numbers on it?
6 A. | believe it was team BS if f can recall. 6 A. Yes, sif.
7 Q. All right. And then what was the -- what 7 Q. So as -- as the supervisor and the
8 was your -- what was your general duties as the 8 surveillance officer on -- for that team that day,
8 sergeant of this team? 9 what was -- did you have any specific role in
10 A. Supervising, | actually also worked 10 terms of each buy bust that would occur?
11. surveillance. 11 A. Yes.
12 Q. And did you -- did you folks work all 12 @. And what was that?
13 over the city as part of this assignment? 13 A. Surveillance.
14 A. Noa, this assignment was area two 14 Q. Anything else?
15 assignment. 15 A. On this particular day?
16 Q. Allright. So when you say you were 16 Q. Yes.
17 supervising, also worked surveillance, what did 17 A. That's all | did, surveillance as well as
18 you mean by the also worked surveillance part? 18 being the supervisor, team supervisor.
19 A. That particular day my job was to 19 Q. Was it your function also once a buy was
20 supervise as well as work surveillance. 20 = made to give the -- well, let me back up a
21 Q. Okay. Now, your team, you said -- what 21 ~~ minute.
22 was your team, B9 you said? 22 A. Yes, sir.
23 A. No, Bd. 23 Q. In addition fo being a surveillance
24 Q. I'm sorry. BS. Did you have -- do you 24 ~— officer you also had another --
3

 

 

 

2 (Pages 5 to 8}

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4 (Interruption.) 1 start that day, do you remember?
2 BYMR. FOX: 2 A. We started early, probably like 8 or 9
3 Q. In addition to being a supervisor and 3. o'clock in the morning.
4 surveillance officer for that team that day you 4 Q. So when -- at the point -- do you know
5 also had on the team that day another surveillance 5 why you set up particularly at 79th and Essex in
6 officer; is that -- is that right? 6 that vicinity?
7 A. Yes. 7 A. Well, what we do is -- yeah, we drove --
8 Q. And that would be Gonzalez? 8 we surveil the area and we pretty much looking for
9 A. Yes, sir. 9 any gang or narcotic activity.
10 Q. And the buy officer that day would have 10 Q. And that you folks felt that this was an
11. been Officer Harris? 11. area where you might find some of that?
12 A. Yes, sir. 12 A. Well, not that we found that we saw. We
13 Q. And then you had some enforcement 13 thought would be -- was narcotics activity.
14 officers? 14 Q. Did you see anything before -- so to
15 A. Yes, sir. 15 understand this, did you -- did -- you folks were
16 Q. Do you remember who they were? 16 = driving around that day in that vicinity and then
17 A. Ido not. 17 decided at some pcint during the day that that's
18 Q. ff1showed you the police report, wauld 18 where you would set up in the vicinity of 79th and
19 that refresh your recollection? 19 Essex?
20 A. Yes, it would. 20 A. What happened is because we keep in
21 Q. Okay. So I'll show you this -- this 21 ~~ contact via radios and -- er other surveillance
22 ~—s police report. We'll mark this as Exhibit 1 to 22 officers, you know, surveiling the area, 79th and
23 _ this deposition. 23 Exodus -- Essex, you know, they alerted team
24 A. Okay. Okay. Yes. Brian Kanur and 24 members that, okay, look like we have -- might
9 11
1 Richard -- Rick Sanchez. 1 have some narcotics activity going on here, looks
2 @. Okay. Look at the second page too. 2 like we have some sales going on here, so
3 A. Okay. 3. everybody come over here and set up.
4 Q. And then also was Schaar and Hoffman 4 Q. Allright. So when you hear that and
5 enforcement officers as well? 5 then there's announcement to come over here and
6 A. Yes, they were. 6 set up, what -- what is -- what then happened?
7 Q. And then these other folks that are 7 A. Wego over there. We setup. We get
8 listed as surveillance Thompson, Grubbs, Gadien 8 positions of surveillance and just see what we
9 and Blanks, were they present that day, do you 9 see. We just conduct observations.
10 know? 10 Q. And then what was your position when you
11 A. Galden, Grubbs, yes. Yes, they were. 11. went over in that area?
12 Q. Okay. Now, at some point in time that 12 A. Where | was located or what was | doing?
13. day you folks set up in the vicinity of 79th and 13 Q@. Well, t'llask you both. Where were you
14 Essex? 14. located?
15 A. Yes, sir. 15 A. | was on Essex just south of 79th
16 Q. Do you remember roughly what time of day 16 Street. | can't recall which way | was facing
17 ~~ that was? 17 but...
18 A. It was -- it was kind of late like 4, 18 Q. Okay. So Essex is a -- is a.....
19 4 o'clock, 4:30, something in that area. 19 A. | think a one-way going north | believe.
20 Q. Do you recall if your team had made any 20 ‘| believe it is.
21 arresis prior to that, that day? 21 Q. And at that time when you set up there,
22 A. Ican’t recall. We was out there for a 22 ~~ did you know -- were you informed via your radio
23 ~~while. We might have. | can't recall. 23 where the other guys on your team were being --
24 Q, Allright. What time did your shift 24 ~—were setting up?
10 12

 

 

 

3 (Pages 9 to 12)

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4 A. No, not really. No, no. Not that ican 1 A. More than two, three.
2 recall. 2 Q. Okay. So two to four, is that an
3 Q. And you don't recall which way you were 3 estimate or a range?
4 facing? 4 A. Could be, several. i don't remember the
5 A. No. 5 actual number.
6 Q. So you don't know if you were actually 6 Q. Allright. And then what did they appear
7 — facing the intersection of 79th and Essex as 7 to you to be doing when you were watching them?
8 opposed to facing south of the intersection? 8 A. As | could -- it appeared to me that they
9 A. Right. | can't recall if | was facing it 9 were standing around congregating, talking,
10 or turned away from it. | believe | was facing 10 — foitering.
11 it. Either way | had the vision -- a visual of 11 @. | take it you were in an unmarked
12 intersection of 79th and Essex. 12. vehicle?
13 Q. Allright. And then did you know Officer 13 A. Covert.
14 Gonzalez to be in that vicinity as well? 14 Q. Which is different because it doesn't
15 A, Yes, i did. 15 have an "M" plate on it?
16 Q. Did you know any other surveillance 16 A. Correct. It's just a reqular -- regular
17 officers to be in that vicinity as well? 17 vehicle.
18 A. Yeah, we all were. | didn't know what 18 Q. And you were plain clothes?
19 they -- their positions of surveillance were. 19 A. Yeés, sir.
20 Q. Did you know where Gonzaléz's position of 20 Q@. Were you in your car by yourself or was
21 ~~ surveillance was? 21. any other officer?
22 A. | believe he was right across from me an 22 A. By myself.
23 Essex. 23 Q@. And | take it you were in radio contact
24 Q@. Okay. 24 with other officers from your team’?
13 15
1 A. If l can recall. 1 A. Yes, sir.
2 @. Right across the street from you? 2 Q. So as you were watching this, how did
3 A. Yes. 3 this proceed or change ff at all?
4 Q. And so if he was on the east side of the 4 A. It appeared at some point that these
5 street, you would have been on the west side of § _ individuals or individual were potentially
6 the street or vice versa? 6 engaging in hand-to-hand transactions with unknown
7 A. Yes sir. 7 individuals.
8 Q. All right. 8 Q. Did you see more than one of these
9 A. As | can recall. 9 individuals engaging in hand-to-hand transactions?
10 Q. Allright. And then when you got {to the 10 A. | believe so, yes. Yes, sir.
11 scene, what did you observe? 11 Q. Do you know if it was more than two that
12 A. Severai male black individuals standing 12 were engaging in hand-to-hand transactions?
13 onthe corner in front of a store. It was phone 13 A. | can't recall to be exact.
14 shop or convenience store. 14 Q. But at least two and maybe more but you
15 Q@. Do you remember which corner it was on, 15 just can't recall?
16 north, south, east, west? 16 A. Yes, sir.
17 A. Yeah, the north -- northwest corner, 79th 17 Q. And then can you give a description of
18 and Essex. 18 these fellows that you believe you saw engaging in
19 Q. And -- and you believe that to be a 19 hand-to-hand transactions?
20 convenience store or a -- what did you say? 20 A. Not at that -- male blacks.
21 A. Some type of store. 21 Q@. But beyond that you can't give a
22 Q. Allright. And when you say several male 22 ~~ description or.....
23 ~~ +blacks were over there, how many do you recall 23 A. The other ones that -- yeah, other --
24 ~=seeing? 24 — other -- of the one in question, yes. But the

14

 

16

 

 

4 (Pages 13 to 16)

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1 other individuals, no. 1 engage in hand-to-hand transaction then walk into
2 Q. Allright. So the one in question you're 2 the store; is that right?
3. talking about is Michael Reno; is that right? 3 A. Yes, sir.
4 A. Yes, sir. 4 Q. Is that the store the northwest corner?
5 Q. And what was his -- can you describe him 5 A. Yes, sir.
6 a little further? 6 Q. And then he would either -- would the
7 A. Male black, kind of tall, dark 7% person follow him into the store?
8  complected, wearing a black jacket or hoodie, dark 8 A. One person, yeah, might have followed him
9 jeans with trimming like orange trimming, bright. 9 to the store, yes, sir.
410 Q. And so did you see him engaging in what 10 Q. And you couldn't see what went on inside
11s: you believe to be -- Michael Reno, did you see him 11 the store particularly?
12 engage in what you -- 12 A. No, sir.
13 A. What appeared, yes, sir. 13 Q. Did -- how many of these transaction did
14 Q. Can you describe what you saw? 14 you see?
15 A. An individual -- unknown individual would 15 A. Two or three.
16 approach him, engage him -- engage him in 16 Q. And so did all two or three take place in
17 conversation. The actual wauld go inside the 17 the same fashion in the sense that you saw
18 store or, you know, shake hands, He would -- Reno 18 hand-to-hand transaction, they walked into the
19 would go inside the store or the individual foliow 19 store together and came out together?
20 ~~ behind him, they come back out. 20 A. Not all three. One, like | said, stayed
21 Q. Which store would he go into? 21 ~~ on the street and he went inside and came back
22 A. Store the northwest corner that's 22 out, shook hands.
23 canvenience store or phone shop, whatever it was 23 Q. At any time could you see anything
24 ~~ ‘that day. 24 being -- anything specific being exchanged?
17 19
1 Q. So if| understand this correctly, he 4 A. Not ~- mo, sir.
2 would appear to engage in a hand-to-hand 2 Q. And could you identify the persons that
3 transaction, walk into the store, then come out of 3 these -- you said there were two to three
4 the store and then -- and then -- and then do 4 hand-to-hand transactions?
5 what? 5 A. Yes, sir.
6 A. Then the person goes away and he'll still 6 Q. Could you ideniify the persons with whom
7 ~~ stand there. 7  hewas having these hand-to-hand transactions?
8 Q. Okay. And did you see the initial 8 A. Just male blacks.
9 transaction, did you see anything being exchanged? 9 Q. And then when you -- when you heard --
10 A. No. 10 when you were observing this, were you saying
11 Q. And when he came back out from the store 11. anything over your radio about it?
12 it would be the same person would still be waiting 12 A. Yes, relaying what | saw and confirming
13. there that he had initially had this hand-to-hand 13 it with other surveillance officers what they --
14 transaction with? 14. what they potentially might have seen.
15 A. Either waiting there or come out the 15 Q. And then you said there were one or two
16 ~— store with him. 16 other guys that were alsa engaging in -- you
17 Q. Allright. Did you see another -- any 17 = thought were engaging in hand-to-hand transactions
18 other hand-to-hand transaction with the same 18 on that comer as well?
19 person when they came out of the store or was 19 A. Yes, sir.
20 ~~ ~waiting there? 20 Q@. Okay. And were those transactions that
24 A. With -- I'm not understanding -- 21 ~~ ~-you saw any different in the sense of how they
22 Q. Sure. 22 ~~‘ took place than the one you described with Reno?
23 A. -- the same person. 23 A. Pretty much the same fashion, standing in
24 Q. | believe you said that you saw Reno 24 — front, engaging in conversation with unknown,

18

 

20

 

5 (Pages 17 to 20)

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1 mate, female blacks, either walking into the store 1 they look fike?
2 or standing right there or that individual follow 2 A. Same as these.
3. them into the store. 3 Q. Okay. And you wrote your own police
4 Q. And it was always the store on the 4 reports that looks something like the police
5 northwest corner? 5 report you have in front of you except it's your
6 A. | do recall a couple times maybe coupie 6 own -- it's your own report?
7 individuals. | believe Reno as well walked to the t A. No, sir, | didn't write them.
8 south side of the street as well. 8 Q. Okay.
9 Q. Do you recall that Reno walked to the 9 A. No, | approved these.
10 south side of the street or..... 10 Q. Okay. So all right. Did you write any
41 A. |can't-- I'm not a hundred percent, but 11. police reports?
12 yeah. That's a possibility, | can't recall a 12 A. No, sir.
13. hundred percent. 13 Q. So the only police reports you're
14 Q. Allright. And can you recall -- you 14 referring to are ones that were written by other
15 said that the transactions that Reno you observed 15 — folks on the team?
16 with Reno were with other male blacks; is that 16 A. Yes, sir.
17s right? i7 Q. And was this one of them, the one you
18 A. Yes, sir, 18 ~~ have in front of you?
19 Q. Okay. Do you recall any other persons 19 A. Yes, sir.
20 with whom the other hand-to-hand transactions were [20 Q. Do you remember any others that you read
21 ‘taking place with? Can you identify any of the 21 ~~ or reviewed?
22 ~—spersons with whom it appeared? 22 A. Maybe an arrest report.
23 A. Just male blacks. 23 Q. So then after you observed these
24 Q. Okay. It was all male blacks? 24 ‘transactions by these folks, did you make a
21 23
4 A. Yeah, from what | observed, yes. 1 decision to do anything in connection with that?
2 @. The buyers and the sellers? 2 A. Yes, | did.
3 A. Yes. 3 Q. Okay. And what was the decision that was
4 Q. And did you have a good view of that 4 made?
5 intersection from where you were observing these 5 A. To send in the undercover officer to --
6 things? 6 to target these individuals that were standing on
7 A. Yeah, it was a good view, but it was kind 7 the corner that we -- appeared to be making
8 of raining out, kind of bad weather. Kind of cold 8 hand-to-hand narcotic transactions.
9 too so had like coats on or hoods. 9 Q. And that would have been Officer Harris?
10 Q@. Right. And by the way, in preparation 10 A. Yes, sir.
11 for this deposition today, did you review any 11 Q. Soa -- and you do this via your radio?
12. document? 12 A. Yes. Yes, sir.
13 A. Yes. 13 Q. And this -- was this on your -- on your
14 Q. What did you review? 14 directive or somebody else's directive?
16 A. My police report. 15 A. On mine.
16 @. Do you have a police report of your own? 16 Q. By the way, do you read the transcript
17 A. No, | do not. 17 — from the criminal trial in connection with Reno?
18 Q. Okay. So which police report did you 18 A. | did nat.
19 review? 19 Q. Okay. So between the time you -- well,
20 A. |had my own -- | didn’t have -- | didn't 20 how much time lapsed roughly fram the time you
21 bring a police report with me, but | do have 24 made the decision to send in Officer Harris ta
22 police reports pertaining to this. 22 make the transaction and the time he actually
23 Q. Okay. And -- okay. What -- what tell me 23 arrived roughly?
24 about those, how many pages are they? What do 24 A. Roughly five, ten minutes.

22

 

24

 

 

6 (Pages 21 to 24)

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| @. And then when you did this, did you 1 Q. And then -- and then after you observe --
2 describe over the radio what you had observed? 2 and then tell me how your observations proceeded
3 A. Yeah, that's what surveillance does. We 3 from there.
4 kind of describe what's going on, what we 4 A. Pretty much he -- Officer Harris being
5 observed, clothing descriptions and buy -- 5 undercover buy officer was now more so talking to
6 undercover buy officer is actually listening as 6 Reno.
7 well. 7 Q. Okay.
3 @. And you're giving descriptions so that 8 A. And --
9 the buy officer knows who to target? 9 Q. And then -- go ahead --
10 A. Yes, sir. 10 A. Asif! recall, Reno -- they spoke, Reno
114 Q. And when you did this in this case, did 11 went inside the store. | can't recall if Harris
12 you give descriptions of more -- more than just 12. went inside with him or not.
13. Michael Reno? 13 Q. Which store did you see Reno go into?
14 A. Yes, sir. 14 A. Thatsame store. I'm sorry the northwest
15 @. Do you remember how many other persons 15 corner.
16 you gave descriptions for? 16 Q@. Okay. And then did you see any -- did
17 A. | donot. 17 you see what looked like a hand-to-hand
18 @. But it was one or two likely? 18 transaction before he went into the store between
19 A. Probably a couple, yes, sir. 19 Reno and Harris?
20 Q. So five or ten minutes -- roughly five or 20 A. | can'trecall. | have to lock at my
21 ~~ ten minutes later Harris comes to the scene. Are 21 ~~ sreport. | can't recall.
22  ~=you stillin the same location you are at? 22 Q. Allright. And then -- buf you said you
23 A. [have not moved, yes, sir. 23 saw Reno go into the store?
24 Q. And was Officer Gonzalez still in the 24 A. Yes, sir.
25 27
1 same location you described him? 1 Q. And then what -- how did your
2 A. Yes, sir. 2 observations proceed from there?
3 Q. Did you hear Officer Gonzalez -- do you 3 A. Preity much just waited to see what
4 recall hearing Officer Gonzalez on the radio 4 happened from that point.
5 describing what he was observing? 5 Q@. Okay. So after Reno walked into the
6 A. Yes, sir. 6 store, where did Harris go if anywhere?
7 Q. And was he -- did he describe -- can you 7 A. | can't recall if he went inside the
8 recall him describing anything different than what 8 store or waited outside. | believe he waited
9 you were describing? 9 outside but | can't recall.
10 A. | can't recall. 10 Q. And the other male blacks that you
11 @. So -- and you observed Officer Harris get 11 believe were -- were selling drugs from that
12. to the scene? 12 corner, did they stay there as well or did they
13 A. Yes, sir. 13. leave or what?
14 Q. Okay. And then what did you observe 14 A. They were milling around, walked off,
15 after you got to the scene? 15 came back.
16 A. Standing on the corner engaging an 16 Q. And then at some point Reno came out
17 — individual in conversation. 17 — from -- did you observe him come out from the
18 @. And was that Reno that he was engaging or 18 store?
19 somebody else? 19 A. Yes, sir.
20 A. | can’t recall. 20 Q. Roughly for how long was he in the store?
21 Q. When Harris arrived, was there still more 1 21 A. Couple minutes maybe, two or three
22 ~~ than one guy, male black that was -- you thought 22 = minutes, if that.
23 was dealing drugs on the corner? 23 Q. And when he came out what did you observe
24 A. | believe so. 24 = him todo?
26 23

 

 

 

7 (Pages 25 to 28)

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4 A. Appeared to be talking to Harris. 4 A. He -- yeah, he had gone into the store --
2 Q. And then what did you observe after ne 2 had gone into the store or something fike that at
3 was -- appeared to be talking to Harris? 3. this point. And we didn't see him come back out
4 A. They might have shook hands and Harris 4 so we just relayed that.
5 walked away. 5 @. Do you remember which store you saw him
6 @. Okay. And where did Reno go when Harris 6 go back into?
7 ~~ walked away, if anywhere, do you recall? 7 A. Right, that same store, the northwest
8 A. | don't recall if he stood there or went 8 corner.
9  backin the store. It was -- | believe back in 9 Q. So you waited for some period of time
10 the store maybe. 10 after you went back in the store. He didn't come
11 Q, Do you know if he went back in the same 11. back out and then what did you do?
12 store or a different store? 12 A. After period of time | believe | just
13 A. | believe the same store. 13. sent enforcement in to go see if this individual's
14 @. Which would be the northwest corner 14 still inside the store, leave the store, we didn't
16 store? 15  seehim. Did he go out the back but go see if
16 A. Yes, sir. 16 ‘he's in the store.
17 @. And then after that you called in for the 17 Q. So was that on your directive that you
18 enforcement officers? 18 sent enforcement in?
19 A. No, sir. After that we waited for Harris 19 A. Yes, sir.
20 ~=— to come back over the radio, come back over the 20 Q. And then these other male blacks that you
21 alr and describe what took place. 21 thought were dealing drugs fram the corner, were
22 Q. And did Harris do that? 22 they stilt milling around?
23 A. Yes, sir. 23 A. | can't recall.
24 Q. What was the time frame from the time you 24 @. So do you know roughly how long -- what
29 31
1 saw Harris shake hands or maybe shake hands and 1 kind of time frame it was from the time that you
2 leave -- let me ask it this way. 2 saw Reno go back to the store to the time you
3 What was the time frame from the time 3 ordered enforcement to come?
4 that Harris left that corner to the time he came 4 A. Maybe five, ten minutes. | think we gave
5 back on the radio roughly? 5 alittle time.
6 A. Couple minutes, like two or three 6 Q. And do you remember which enforcement
7 ~~ minutes. 7 officers came?
8 Q. And then when Harris came back on the 8 A. | do not recall.
9 radio what did he say, if anything’? 9 Q. If | said Schaar and Hoffman, does that
10 A. Say it was a positive buy and gave his 10 sound right?
11. description. 11 A. They were -- they were definitely on the
12 Q. And what description -- do you remember 12 scene. I'm not sure if they were the ones who
13. what description he gave? 13. detained Reno of not.
14 A. Male black, maybe kind of tall, wearing a 14 Q. Do you remember how many enforcement
15 black jacket, hoodie, jeans with orange designs on 115 officers came?
16 the pockets or orange trim or something like that. 16 A. | believe it was two cars. We had two
17 Q. And then once you heard the description 17 cars.
18 over the radio, what was the next thing that you 18 Q. So if there's -- there’s two cars, are
19 did? 19 there two officers in each car?
20 A. Pretty much see if we saw the individual 20 A. Yes, sir.
21 ~~ which we didn't. 21 Q. And did you wait around to observe what
22 Q. You did not? 122 wenton at that point?
23 A. Wedid net. 123 A. Yes, ! was still there. Yes.
24 Q. Okay. ,24 Q. So what did you observe when the

30)

 

 

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8 (Pages 29 to 32)

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1 enforcement officers came? 1 Q. Do you recall at any point earlier that
2 A. lt appeared that they went inside the 2 day arresting somebody who -- who was wanting to
3. store and brought out a male black individual. 3 act as an informant against other people?
4 Q. And did that turn out to be Reno? 4 A. | do not.
5 A. Ultimately, yes. 5 Q. And do you know why when Harris arrived
6 Q. And then -- and then when they did that 6 to -- after Harris was called to make the buy, do
7 ~ what occurred? * you know why he targeted Reno to do the buy as
8 A. Via the radio undercover Officer Harris 8 opposed to any of these other male blacks around
9 said that he drove by that location and positively 9 the corner?
10 identified via the radic that that was the 10 A. No. Maybe Reno had the conversation,
11. individual that he had engaged in the positive 11. might have talked to him and got Reno's
12 narcotics transaction with. 12 ~~ attention. | have no idea what actually went on
13 Q. And so once that occurred, what was the 13. with Harris while he was out there, so.....
14 next thing you observed happen? 14 Q. Allright. And your team member, the
45 A. At that point, you know, we -- 15 persons on the team, they all got activity reports
16 enforcement officers, they placed him in the squad 16 in connection with their -- are you familiar with
17 car. We left the area. 17 activity reports that they have in connection with
18 Q. And did you find out that the 1505 funds '18 arrests and case reports and things of that
19 were not recovered? 19 nature?
20 A. I did. 20 A. Activity reports pertaining to this --
21 Q. And did you ever -- do you know what was 21 ‘this incident?
22  ~done to -- to search for the 1505 funds? 22 Q. To any arrest that they make.
23 A. {believe that they said they talked with 23 A. I'm not sure.
24 ‘the individual, whoever works the store and asked 24 Q. Allright. Did you go back to the
33 35
1 them if they could check the money in the draw or 1 station after this?
2 something like that. | believe that's what they 2 A. Yes.
3 told me that they did. 3 Q. And did you have any conversation back at
4 Q. And did they tell you anything else about 4 _ the station with any of the other officers on the
5 what the store owner said? 5 team in connection with what they believed
6 A. Wo, just it wasn't recovered. 6 happened with the 1505 funds?
7 @. And -- and when -- when the enforcement 7 A. Outside of enforcement, no.
8 officers go in to make an arrest, do you expect 8 Q. Did you have any conversation -- what do
9 that they will search around the store for the 9 you mean outside of enforcement? Did you have a
10 money and/or the other narcotics? 10 conversation with them, then, | take it?
11 A. | suspect so, yes. 11 A, Yes.
12 Q. Do you know if that was done in this 12 Q. And what did they say? They just said
13. case? 13 they couldn't find it?
14 A. | do not. 14 A. They couldn't find it.
15 Q@. Okay. And Reno was -- as far as you know 15 Q. Did you have any conversation with Reno?
16 was not found to have any other narcotics on him; 16 A. No.
17 _ is that correct? 17 Q. And do you know if there were any
18 A. [don’t recall he did. 18 other -- other than Gonzalez and yourself, do you
19 Q. Allright. And do you keep notes of your 19 know if there were any other surveillance officers
20 = abservations of your surveillance or do you make 20 ~— that saw -- that were observing that intersection,
21 notes of your surveillance? 21 79th and Essex, at the same time you were
22 A. No, not -- not particulary, no. 22 observing it?
23 @. And you did not do that in this case? 23 A. Yes, they were but I'm not sure who saw
24 A. No. 24 what or -- pretty much everybody that's on the
34 36

 

 

 

9 (Pages 33 to 36)

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1 reports was acting as surveillance, you know, 7 STATE OF ILLINOIS }
2 under whatever their position was. But, you know, 2 } SS:
3 when we're on the radio it doesn't -- tt doesn't 3 COUNTY OF COOK)
4 say, you know, Butler saw thts, you know. 4 ], MARTHA C. NEWTON, a notary public within
5 Q. You just get on, say what you're looking 5 and for the County of Kane and State of lilinois,
6 at? 6 do hereby certify that heretofore, to-wit, on the
7 A. Exactly. 7 17th day of November 2011, personally appeared
8 Q. Allright. And do you recall Reno -- you 8 before me, at 300 West Adams Street, Suite 330,
9 said -- | think you said you saw him go into the 9 Chicago, Illinois, DARWIN BUTLER, in a cause now
10 southwest corner store at some point? 10 pending and undetermined in the United States
11 A. He might have walked -- he might have 11. District Court, wherein MICHAEL RENO is the
12 walked -- | don’t recall him going into the 12 Plaintiff, and KEITH HARRIS, et al. are the
13 store. | recall him maybe walking across the 13 Defendants.
14 street to the store possibly. 14 ' further certify that the said witness was
15 Q. But you don't recall him going into that 15 first duly sworn to testify the truth, the whole
16 store? 16 — truth and nothing but the truth in the cause
17 A. [can't recall. He might have but..... 17 aforesaid; that the testimony then given by said
18 MR. FOX: | have nothing further. 18 witness was reported stenographically by me in ihe
19 MS. BENSON: Okay. 19 presence of the said witness, and aflerwards
20 MR. FOX: All right. We're done. 20 ~—s reduced to typewriting by Computer-Aided
21 THE WITNESS: Okay. 2% ~~ Transcription, and the foregoing is a true and
22 MS. BENSON: We'll waive signature. 22 ~~ correct transcript of the testimony so given by
23 (Butler Deposition Exhibit 23 said witness as aforesaid.
24 No. 1 was marked for 24 | further certify that the signature to the
37 39
4 identification.) 1 foregoing deposition was waived by counsel! for the
2 (3:34 p.m. further deponent 2 respective parties.
3 saith not.) 3 | further certify that the taking of this
4 4 deposition was pursuant te Notice, and that there
5 5 were present at the deposition the attorneys
6 6 hereinbefore mentioned.
7 7 [ further certify that | am not counsel for
3 8 nor in any way related to the parties to this
9 suit, nor am | in any way interested in the
9
10 outcome thereof.
10 11 | have hereunto set my hand this 13th day of
11 12. = January 2012.
12 13
13 14
14 15
15 NOTARY PUBLIC, KANE C
16 16
17 17
18 18
19 19
20 20
P14 21
2? 22
23 23
24 24

 

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10 (Pages 37 to 40)

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